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14
                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16

17   LUCAS YOUNG, individually and on behalf of       Case No.
     all other persons similarly situated,
18

19                                 Plaintiff,         CLASS ACTION COMPLAINT

20                  v.
                                                      JURY TRIAL DEMANDED
21   FLOSPORTS, INC.,
22
                                   Defendant.
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     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED
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 1          Plaintiff Lucas Young (“Plaintiff”) brings this action individually and on behalf of all
 2   others similarly situated against Defendant FloSports, Inc. (“FloSports” or “Defendant”). Plaintiff
 3   makes the following allegations pursuant to the investigation of his counsel and based upon
 4   information and belief, except as to allegations specifically pertaining to himself and their counsel,
 5   which are based on personal knowledge.
 6                                           INTRODUCTION
 7          1.      This is a putative class action lawsuit against Defendant for engaging in an illegal
 8   “automatic renewal” scheme with respect to its subscription sports broadcasting and streaming
 9   services across its network sites (collectively, the “FS Subscriptions,” enumerated below) through
10   its website, https://www.flosports.tv/ (the “FloSports Website”). Defendant is a Texas-based
11   subscription sports broadcaster and streaming service that, among other activities, streams live
12   sporting events to audiences around the world. Relevant to Plaintiff’s allegations, when customers
13   sign up for an FS Subscription in order to gain access to a live stream through the FloSports
14   Website, Defendant enrolls customers in a program that automatically renews customers’ FS
15   Subscription on a yearly basis and results in yearly charges to customer’s credit card, debit card, or
16   third-party payment account (collectively, “Payment Method”). In doing so, Defendant fails to
17   provide the requisite disclosures and authorizations required to be made to and obtained from
18   California consumers under California’s Automatic Renewal Law (“ARL”), Cal. Bus. & Prof.
19   Code §§ 17600, et seq.
20          2.      Through the FloSports Website, Defendant markets, advertises, and sells to
21   consumers in California and throughout the United States paid memberships to the FS
22   Subscriptions, which include broadcasting and streaming services for numerous sports channels 1
23   (collectively, the “FS Subscriptions”). To sign up for one of Defendant’s FS Subscriptions through
24   the FloSports Website, customers must provide Defendant with their billing information and
25   Defendant then automatically charges customers’ Payment Method as payments are due, typically
26   1
      The sport channels include: FloBikes, FloBowling, FloCheer, FloComba, FloDance, FloElite,
27   FloFC, FloFootball, FloGrappling, FloGymnastics, FloHockey, FloHoops, FloLive, FloMarching,
     FloRacing, FloRodeo, FloRugby, FloSoftball, FloSwimming, FloTrack, FloVoice, FloVolleyball,
28   FloWrestling, and Varsity.

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 1   on a yearly basis. Defendant is able to unilaterally charge its customers’ renewal fees without their
 2   consent, as Defendant is in possession of its customers’ billing information. Thus, Defendant has
 3   made the deliberate decision to charge Plaintiffs and other similarly situated customers on a yearly
 4   basis, absent their consent under the ARL, absent the requisite disclosures under the ARL, and in
 5   reliance on consumer confusion and inertia to retain customers, combat consumer churn, and
 6   bolster its revenues.
 7          3.      Pursuant to the ARL, online retailers who offer automatically renewing
 8   subscriptions to California consumers must: (a) obtain affirmative consent prior to the consumer’s
 9   purchase; (b) provide the complete auto-renewal terms in a clear and conspicuous manner and in
10   visual proximity to the request for consent prior to the purchase; and (c) provide an
11   acknowledgement identifying an easy and efficient mechanism for consumers to cancel their
12   subscriptions. As will be discussed below, the enrollment process for the FloSports Subscriptions
13   through the FloSports Website uniformly violates each of the core requirements of the ARL.
14          4.      Specifically, Defendant systematically violates the ARL by: (i) failing to present the
15   automatic renewal offer terms in a clear and conspicuous manner and in visual proximity to the
16   request for consent to the offer before the subscription or purchasing agreement is fulfilled, in
17   violation of Section 17602(a)(1); (ii) charging consumers’ Payment Method without first obtaining
18   their affirmative consent to the agreement containing the automatic renewal offer terms, in
19   violation of Section 17602(a)(2); and (iii) failing to provide an acknowledgment that includes the
20   automatic renewal offer terms, cancellation policy, and information regarding how to cancel in a
21   manner that is capable of being retained by the consumer, in direct violation of Sections
22   17602(a)(3) and 17602(b). Cal. Bus. & Prof. Code §§ 17602(a)(l), (a)(2), (a)(3), (b). As a result,
23   the access to the sports broadcasting, or streaming services granted to Plaintiff and the Class under
24   the automatic renewal of continuous service agreements are deemed to be “unconditional gifts”
25   under the ARL. Cal. Bus. & Prof. Code § 17603.
26          5.      For the foregoing reasons, Plaintiff brings this action individually and on behalf of
27   all California purchasers of any of Defendant’s FS Subscriptions offerings who, within the
28
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 1   applicable statute of limitations period up to and including the date of judgment in this action,
 2   incurred unauthorized fees for the renewal of their FS Subscriptions. Based on Defendant’s
 3   unlawful conduct, Plaintiff seeks damages, restitution, declaratory relief, injunctive relief, and
 4   reasonable attorneys’ fees and costs, for: (i) violation of California’s Unfair Competition Law
 5   (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.; (ii) violation of California’s False Advertising
 6   Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et seq.; (iii) violation of California’s Consumers
 7   Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq.; and (iv) unjust
 8   enrichment/restitution.
 9                                              THE PARTIES
10          6.      Plaintiff Lucas Young is a citizen of California, residing in Sonoma, California. On
11   or around August 14, 2021, Mr. Young purchased a yearly FS Subscription (“FloGrappling”) from
12   Defendant’s Website while in California. During the enrollment process, but before finally
13   consenting to Defendant’s subscription offering, Mr. Young provided his Payment Method
14   information directly to Defendant. At the time that Mr. Young enrolled in his FS Subscription
15   program, Defendant did not disclose to Mr. Young all of the required automatic renewal offer
16   terms associated with the subscription program or obtain Mr. Young’s affirmative consent to those
17   terms. Further, after Mr. Young completed his initial order, Defendant sent Mr. Young an email
18   confirmation and receipt for his purchase of and enrollment in the FS Subscription (the
19   “Acknowledgment Email”). However, the Acknowledgment Email, too, failed to provide Mr.
20   Young with the complete automatic renewal terms that applied to Defendant’s offer, a description
21   of Defendant’s full cancellation policy, or information regarding how to cancel Mr. Young’s FS
22   Subscription in a manner capable of being retained by him. Mr. Young did not receive any other
23   acknowledgement that contained the required information. As a result, Mr. Young was not placed
24   on notice of several material terms associated with his FS Subscription. In particular, Mr. Young
25   was not made aware of the recurring price to be charged upon renewal, the length of the renewal
26   term, when the first charge would occur, or the complete cancellation policy associated with his FS
27   Subscription: the most crucial aspects of which were missing from the Checkout Page and
28
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 1   Acknowledgment Email. In any case, shortly after Mr. Young first signed up for his FS
 2   Subscription, Mr. Young learned upon reviewing his billing statements and banking history that,
 3   notwithstanding the confusing terms of his FS Subscription, Defendant enrolled Mr. Young into its
 4   year-long automatic-renewal subscription and, without Mr. Young’s affirmative consent, charged
 5   Mr. Young’s Payment Method for a full annual rate of $149.99 associated with his FS
 6   Subscription—resulting from Defendant’s inadequate ARL disclosures and its deceptive Checkout
 7   Page design which prominently displayed on the center of the webpage that the purchase price was
 8   $12.50. After this discovery, Mr. Young emailed Defendant through the FloSports Website in order
 9   to avoid incurring any future charges in connection with FS Subscription. Further, Mr. Young
10   notified Defendant that he did not authorize – and to request a refund of – the unauthorized charge
11   to his Payment Method. However, Defendant denied Mr. Young’s refund request and, on August
12   20, 2022, attempted to auto-renew Mr. Young’s FS Subscription for yet another year by charging
13   his Payment Method. Defendant’s misleading, missing and incomplete disclosures on the Checkout
14   Pages and in the Acknowledgment Emails, its failure to obtain Mr. Young’s affirmative consent
15   before charging his Payment Method on a yearly basis, and its subsequent refusal to issue a refund
16   of those unauthorized charges, are contrary to the ARL, which deems products provided in
17   violation of the statute to be a gift to consumers. See Cal. Bus. & Prof. Code § 17603. Had
18   Defendant complied with the ARL, Mr. Young would have been able to read and review the auto
19   renewal terms prior to purchase, and he would not have subscribed to FS Subscription at all or on
20   the same terms, or he would have canceled his FS Subscription earlier, i.e., prior to the expiration
21   of the initial subscription. As a direct result of Defendant’s violations of the ARL, Mr. Young
22   suffered an economic injury.
23          7.      Defendant FloSports, Inc. (“FloSports” or “Defendant”) is a Delaware corporation
24   with its principal place of business at 979 Springdale Rd, Ste 120, Austin, Texas, 78702. Defendant
25   is one of the largest subscription sports broadcaster and streaming service providers for niche
26   sports such as mixed martial arts, gymnastics, and racing competitions. The growth of FloSports
27   has been unprecedented. Currently, “FloSports boasts five million monthly unique viewers across
28
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 1   its platforms, which offer live or on-demand coverage of over 200,000 competitions from more
 2   than 25 sports around the world, including basketball, cycling, rugby, ice hockey and gymnastics.” 2
 3   Relevant here, Defendant offers access to certain exclusive FloSports content, products, and/or
 4   services on a contract or fee basis to customers who enroll in the automatically renewing FS
 5   Subscriptions. Defendant wholly owns and operates the FS Subscriptions, which it markets to
 6   consumers through the FloSports Website. Defendant is responsible for the promotion,
 7   advertisement, and/or marketing of the FS Subscriptions, and it owns and operates the FloSports
 8   Website. Defendant sells – and, at all times during the applicable Class Periods, sold – the FS
 9   Subscriptions in California and has done business throughout the United States. In connection with
10   the FS Subscriptions, Defendant made automatic renewal offers to consumers in California and
11   throughout the United States via the FS Website at all relevant times during the applicable Class
12   Periods.
13          8.      Plaintiff reserves the right to amend this Complaint to add different or additional
14   defendants, including without limitation any officer, director, employee, supplier, or distributor of
15   Defendant who has knowingly and willfully aided, abetted, or conspired in the false and deceptive
16   conduct alleged herein.
17                                     JURISDICTION AND VENUE
18          9.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A), as
19   amended by the Class Action Fairness Act of 2005 (“CAFA”), because this case is a class action
20   where the aggregate claims of all members of the proposed class are in excess of $5,000,000.00,
21   exclusive of interest and costs, there are over 100 members of the putative class, and Plaintiff, as
22   well as most members of the proposed class, is a citizen of a state different from Defendant.
23          10.     This Court has personal jurisdiction over the parties because Plaintiff resides in
24   California and submits to the jurisdiction of the Court, and because Defendant has, at all times
25   relevant hereto, systematically and continually conducted business in California, including within
26
     2
27     SportsPro, “We not only survived, we started to thrive”: Catching up with FloSports CEO Mark
     Floreani (November 16, 2021). https://www.sportspromedia.com/insights/flosports-ceo-mark-
28   floreani-sportel-monaco-hockeytech-college-sports-ncaa.

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 1   this District, and/or intentionally availed itself of the benefits and privileges of the California
 2   consumer market through the promotion, marketing, and sale of its products and/or services to
 3   residents within this District and throughout California. Additionally, Plaintiff purchased his FS
 4   Subscription from Defendant while in California.
 5            11.    Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because
 6   a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this
 7   District. Also, Plaintiff resides in this District and purchased Defendant’s FS Subscription in this
 8   District. Moreover, Defendant systematically conducts business in this District and throughout the
 9   State of California, and it distributed, advertised, and sold the FS Subscriptions to Plaintiffs and
10   Class Members in this State and District.
11                                       FACTUAL ALLEGATIONS
12            A.     Background On The Subscription e-Commerce Market
13            12.    The e-commerce subscription model is a business model in which retailers provide
14   ongoing goods or services “in exchange for regular payments from the customer.” 3 Subscription e-
15   commerce services target a wide range of customers and cater to a variety of specific interests.
16   Given the prevalence of online and e-commerce retailers, subscription e-commerce has grown
17   rapidly in popularity in recent years. Indeed, the “subscription economy has grown more than
18   400% over the last 8.5 years as consumers have demonstrated a growing preference for access to
19   subscription services[.]”4 Analysts at UBS predict that the subscription economy will expand into a
20   $1.5 trillion market by 2025, up from $650 billion in 2020. 5 That constitutes an average annual
21
     3
22       See https://www.coredna.com/blogs/ecommerce-subscription-services.
     4
       Business Insider, Taco Bell’s taco subscription is rolling out nationwide — here’s how to get it
23   (January 6, 2022), https://www.businessinsider.com/taco-bell-subscription-launching-across-the-
     country-2022-1 (internal quotation marks omitted).
24   5
      See UBS, Investing in digital subscriptions (March 10, 2021),
25   https://www.ubs.com/global/en/wealth-management/our-
     approach/marketnews/article.1525238.html (“[A]t close to USD 650 billion in 2020, we expect the
26   subscription economy to expand into a USD 1.5 trillion market by 2025, implying an average
     annual growth rate of 18%.”). See also Subscribed, UBS Declares: It’s Worth Investing in the
27   Subscription Economy (April 17, 2021), https://www.subscribed.com/read/news-and-editorial/ubs-
     declares-its-worth-investing-in-the-subscription-economy; Business 2 Community, The
28   Subscription Economy Is Booming Right Now. But Are You Reaping the Full Benefits? (October 7,

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 1   growth rate of 18%, which makes the subscription economy “one of the fastest-growing industries
 2   globally.6
 3               13.   As noted above, the production, sale, and distribution of subscription-based
 4   products and services is a booming industry that has exploded in popularity over the past few
 5   years. According to Forbes, “[t]he subscription e-commerce market has grown by more than 100%
 6   percent a year over the past five years, with the largest retailers generating more than $2.6B in
 7   sales in 2016, up from $57.0M in 2011.”7 Following 2016, market growth within the industry
 8   increased exponentially, reaching $650 billion in 2020. 8 “As such, the financials of companies
 9   with subscription business models[] … improved dramatically in 2020 thanks to limited revenue
10   volatility and strong cash flow generation.” 9 Thus, “[t]he share prices of most subscription
11   companies have performed well in recent years.” 10
12               14.   The expansion of the subscription e-commerce market shows no signs of slowing.
13   “We’re now in the subscriptions era, and the pandemic is accelerating its takeover. During the
14   COVID-19 lockdowns, many digital-based subscription business models fared well due to their
15   promise of convenience and strong business continuity.” 11 According to The Washington Post,
16   “[s]ubscriptions boomed during the coronavirus pandemic as Americans largely stuck in shutdown
17
     2021), https://www.business2community.com/ecommerce/the-subscription-economy-is-booming-
18   right- now-but are-you-reaping-the-full-benefits-02434851.
     6
       UBS, Investing in digital subscriptions (Mar. 10, 2021), supra (“[Growth] was seen across many
19   areas, including e-commerce, video streaming, gaming, cloud-based applications, etc.”); see also
     Juniper Research, Subscriptions For Physical Goods To Overtake Digital Subscriptions By 2025;
20   Growing To Over $263bn Globally (Oct. 12, 2020),
     https://www.juniperresearch.com/press/subscriptions-for-physical-goods-to-overtake
21   (acknowledging “the significant lead the digital sector has had in th[e] area[ of digital service
     subscriptions]”).
22   7
      The State Of The Subscription Economy, 2018, Forbes (Mar. 4, 2018),
23   https://www.forbes.com/sites/louiscolumbus/2018/03/04/the-state-of-the-subscription-economy-
     2018/#6ad8251a53ef.
     8
24    See UBS, Investing in digital subscriptions (Mar. 10, 2021), available at
     https://www.ubs.com/global/en/wealth-management/our-
25   approach/marketnews/article.1525238.html.
     9
26       Id.
     10
          Id.
27   11
      UBS, Investing in digital subscriptions (Mar. 10, 2021), https://www.ubs.com/global/en/wealth-
28   management/our- approach/marketnews/article.1525238.html.

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 1   mode flocked to digital entertainment[.] … The subscription economy was on the rise before the
 2   pandemic, but its wider and deeper reach in nearly every industry is expected to last, even after the
 3   pandemic subsides in the United States.”12
 4              15.   However, as The Washington Post has noted, there are downsides associated with
 5   the subscription-based business model. While the subscription e-commerce market has low barriers
 6   and is thus easy to enter, it is considerably more difficult for retailers to dominate the market due to
 7   the “highly competitive prices and broad similarities among the leading players.” 13 In particular,
 8   retailers struggle with the fact that “[c]hurn rates are high, [] and consumers quickly cancel services
 9   that don’t deliver superior end-to-end experiences.” 14 Yet, retailers have also recognized that,
10   where the recurring nature of the service, billing practices, or cancellation process is unclear or
11   complicated, “consumers may lose interest but be too harried to take the extra step of canceling
12   their membership[s].”15 As these companies have realized, “[t]he real money is in the inertia.” 16
13   As a result, “[m]any e-commerce sites work with third-party vendors to implement more
14   manipulative designs.”17 That is, to facilitate consumer inertia, a number of subscription e-
15   commerce companies, including Defendant, “are now taking advantage of subscriptions in order to
16   trick users into signing up for expensive and recurring plans. They do this by intentionally
17

18
     12
       The Washington Post, Everything’s becoming a subscription, and the pandemic is partly to
19   blame (June 1, 2021), https://www.washingtonpost.com/business/2021/06/01/subscription-boom-
     pandemic/ (noting that “e-commerce and entertainment subscriptions to sites such as Netflix, Hulu
20   and Disney Plus made headlines during the pandemic for soaring growth”).
     13
21      McKinsey & Company, Thinking inside the subscription box: New research on e-commerce
     consumers, (February 2018), https://www.mckinsey.com/industries/technology-media-and-
22   telecommunications/our-insights/thinking- inside-the-subscription-box-new-research-on-
     ecommerce-consumers#0.
     14
23        Id.
     15
24     Washington Post, Little-box retailing: Subscription services offer new possibilities to consumers,
     major outlets (April 7, 2014),
25   https://www.washingtonpost.com/business/economy/tktktktk/2014/04/07/f68135b6-a92b-11e3-
     8d62-419db477a0e6_story.html.
     16
26        Id.
     17
27      Business Insider, A new study from Princeton reveals how shopping websites use 'dark patterns'
     to trick you into buying things you didn't actually want (June 25, 2019),
28   https://www.businessinsider.com/dark-patterns-online- shopping-princeton-2019-6.

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 1   confusing users with their app’s design and flow, … and other misleading tactics[,]” such as failure
 2   to fully disclose the terms of its automatic-renewal programs. 18
 3              16.   To make matters worse, once enrolled in the subscription, “[o]ne of the biggest
 4   complaints consumers have about brand/retailers is that it’s often difficult to discontinue a
 5   subscription marketing plan.”19 Moreover, “the rapid growth of subscriptions has created a host of
 6   challenges for the economy, far outpacing the government’s ability to scrutinize aggressive
 7   marketing practices and ensure that consumers are being treated fairly, consumer advocates say.” 20
 8   Thus, although “Federal Trade Commission regulators are looking at ways to make it harder for
 9   companies to trap consumers into monthly subscriptions that drain their bank accounts [and]
10   attempting to respond to a proliferation of abuses by some companies over the past few years[,]” 21
11   widespread utilization of these misleading dark patterns and deliberate omissions persist.
12              17.   Defendant has successfully implemented this tactic. According to Bloomberg, as of
13   date, FloSports has more than 500,000 subscribers. 22 In 2021 alone, “FloSports saw its subscriber
14   base grow by more than 50% year-over-year[] and saw 100% growth in traffic on its platform.
15   Revenue grew by more than 50%.”23 Defendant’s rapid growth of its audience base is directly
16   linked to its aggressive, and deceptive, marketing tactics. For example, to promote its 2021 Tour
17   De France cycling broadcast, “FloSports grew its YoY programmatic advertising revenue by 96%
18
     18
19      TechCrunch, Sneaky subscriptions are plaguing the App Store (October 15, 2018),
     https://techcrunch.com/2018/10/15/sneaky-subscriptions-are-plaguing-the-app-store/.
20   19
        The Washington Post, Everything’s becoming a subscription, and the pandemic is partly to
21   blame (June 1, 2021), https://www.washingtonpost.com/business/2021/06/01/subscription-boom-
     pandemic/ (“‘Subscription services are a sneaky wallet drain,’ said Angela Myers, 29, of
22   Pittsburgh. ‘You keep signing up for things and they make it really hard to cancel.’”); see also New
     Media and Marketing, The problem with subscription marketing (Mar. 17, 2019),
23   https://www.newmediaandmarketing.com/the-problem-with-subscription-marketing/.
     20
          Id.
24   21
          Id.
     22
25     Bloomberg, Niche Sports Streaming Service Expands While Giants Retrench (December 8,
     2020), https://www.bloomberg.com/news/articles/2020-12-08/niche-sports-streaming-service-
26   expands-while-giants-retrench#xj4y7vzkg.
     23
27      Austin Business Journal, FloSports' growth trajectory means new headquarters, more sports
     being streamed, tons of hiring (February 28, 2022),
28   https://www.bizjournals.com/austin/news/2022/02/28/flosports-new-hq-streaming-sports.html.

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 1   across social media platforms including Facebook and YouTube… lead[ing] to a 588% increase in
 2   video views, a 100% increase in engagement rates, and 465% increase in the number of
 3   engagements.”24
 4            B.      Defendant’s Dark Patterns And Online Consumer Complaints About The FS
                      Subscriptions
 5

 6            18.     Defendant’s recent growth in revenues and subscriber count with respect to its FS
 7   Subscriptions coincides with a sharp decline in subscriber satisfaction as the FloSports Website and
 8   accompanying marketing have become riddled with “dark patterns.” Dark patterns “are tricks used
 9   in websites and apps that make you do things that you didn’t mean to, like buying or signing up for
10   something.”25 Consumers have complained on social media outlets both about Defendant’s
11   misleading enrollment process as well as its unclear cancellation process. On a Reddit thread, with
12   hundreds of other users voicing the same frustrations, a consumer complained “Flograppling
13   misleading people, Says you only be charged one time fee for watching an event then they charge
14   for a whole year’s membership, they know exactly what they are doing and have over 800
15   complaints of this same issue on Better Business Bureau.” 26 Indeed, as Truth in Advertising27 has
16   pointed out, Defendant uses “bait-and-switch” dark patterns by “offer[ing] subscriptions to live
17   video coverage of dozens of underexposed sports and competitive activities, ranging from
18   wrestling and rodeos to singing and dancing, with plans starting at $12.50 a month according to its
19   website. But what FloSports doesn’t make clear on the signup pages for these subscriptions (linked
20   above) is that this low monthly rate is contingent on signing up for an annual plan, which costs
21

22
     24
        Sports Video Group, After Partnership With Grabyo, FloSports Sees 96% Year-Over-Year
23   Increase in Social Ad Revenue During 2021 Tour De France (August 24, 2021),
     https://www.sportsvideo.org/2021/08/24/after-partnership-with-grabyo-flosports-sees-96-year-
24   over-year-increase-in-social-ad-revenue-during-2021-tour-de-france/
     25
25        https://www.deceptive.design/
     26
      https://www.reddit.com/r/bjj/comments/s9sdmk/flograppling_misleading_people_says_you_only
26   _be/
     27
27     Truth in Advertising is a nonprofit organization devoted to consumer protection that regularly
     publishes articles about deceptive marketing and sends complaint letters to the Federal Trade
28   Commission (“FTC”) for regulatory action.

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 1   $150 a year.”28 Defendant’s utilization of these dark patterns – especially in conjunction with its
 2   failure to fully disclose the actual price and terms of its automatic-renewal programs (discussed
 3   further below) – has led to a reduction in churn rates by making it next to impossible for
 4   subscribers to cancel their FS Subscriptions. It has further led to an increase in accidental or
 5   unintentional sign-ups by consumers for paid FS Subscriptions plans, in effect increasing
 6   subscriber count and, thus, Defendant’s overall revenues from renewal fees.
 7           19.    In fact, Defendant’s conduct has drawn the attention and ire of customers across the
 8   country, with countless angry customers taking to the Internet to voice their discontent over
 9   Defendant’s broken promises. For instance, numerous subscribers have left scathing reviews on the
10   Better Business Bureau website, on a near daily basis, complaining of the unclear billing practices
11   and confusing cancellation policy associated with Defendant’s FS Subscriptions: 29
12   ///
13   ///
14   ///
15   ///
16   ///
17   ///
18   ///
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25
     28
26      Truth in Advertising, Streaming service advertises a monthly rate for a wrestling package that
     has no monthly plan (February 13, 2019), https://truthinadvertising.org/articles/flosports-
27   flowrestling/
     29
        See https://www.bbb.org/us/tx/austin/profile/digital-media/flosports-inc-0825-
28   1000108975/complaints

     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                         11
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     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                         12
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                                                                                                30
            20.   Other subscribers to FS Subscriptions left similar complains on Amazon.com:
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27   30
       https://www.amazon.com/FloSports-Inc/product
28   reviews/B07Q3T4JWK?reviewerType=all_reviews

     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                     13
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 1          21.     The above reviews are just a sampling of the widespread pattern of uniform
 2   unlawful conduct by Defendant, underscoring the artifice devised and employed by Defendant to
 3   lure and deceive millions of consumers into enrolling, and remaining enrolled, in its paid FS
 4   Subscription programs.
 5          C.      California’s Automatic Renewal Law
 6          22.     In 2010, the California Legislature enacted the Automatic Renewal Law (“ARL”),
 7   Cal. Bus. & Prof. Code §§ 17600, et seq., with the intent to “end the practice of ongoing charging
 8   of consumer credit or debit cards or third party payment accounts without the consumers’ explicit
 9   consent for ongoing shipments of a product or ongoing deliveries of service.” Cal. Bus. & Prof.
10   Code § 17600 (statement of legislative intent). More recently, in 2018, California’s Senate Bill 313
11   amended Section 17602 of the ARL, adding new requirements meant to increase consumer
12   protections for, among other things, orders that contain free trial and promotional pricing, and
13   subscription agreements entered into online.
14          23.     The ARL makes it “unlawful for any business making an automatic renewal or
15   continuous service offer to a consumer in this state to do any of the following:”
16                  (1)      Fail to present the automatic renewal offer terms or
17                  continuous service offer terms in a clear and conspicuous manner
                    before the subscription or purchasing agreement is fulfilled and in
18                  visual proximity, or in the case of an offer conveyed by voice, in
                    temporal proximity, to the request for consent to the offer. If the
19                  offer also includes a free gift or trial, the offer shall include a clear
                    and conspicuous explanation of the price that will be charged after
20
                    the trial ends or the manner in which the subscription or
21                  purchasing agreement pricing will change upon conclusion of the
                    trial.
22
                    (2)     Charge the consumer’s credit or debit card, or the
23                  consumer’s account with a third party, for an automatic renewal
                    or continuous service without first obtaining the consumer’s
24
                    affirmative consent to the agreement containing the automatic
25                  renewal offer terms or continuous service offer terms, including
                    the terms of an automatic renewal offer or continuous service
26                  offer that is made at a promotional or discounted price for a
                    limited period of time.
27

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     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                        14
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                     (3)     Fail to provide an acknowledgment that includes the
 1
                     automatic renewal offer terms or continuous service offer terms,
 2                   cancellation policy, and information regarding how to cancel in a
                     manner that is capable of being retained by the consumer. If the
 3                   automatic renewal offer or continuous service offer includes a
                     free gift or trial, the business shall also disclose in the
 4                   acknowledgment how to cancel, and allow the consumer to
                     cancel, the automatic renewal or continuous service before the
 5
                     consumer pays for the goods or services.
 6
     Cal. Bus. & Prof. Code § 17602(a)(1)-(3).
 7
             24.     Section 17602(b) of the ARL further provides:
 8

 9                   A business that makes an automatic renewal offer or continuous
                     service offer shall provide another cost-effective, timely, and easy-
10                   to-use mechanism for cancellation that shall be described in the
                     acknowledgment specified in paragraph (3) of subdivision (a).
11
     Cal. Bus. & Prof. Code § 17602(b).
12

13           25.     Additionally, following the 2018 amendment to the ARL, the updated law requires
14   e-commerce sellers, doing business in California, to allow online cancellation of auto-renewing
15   memberships or recurring purchases that were initiated online. Specifically, Section 17602(c)
16   provides:
17
             [A] consumer who accepts an automatic renewal or continuous service
18           offer online shall be allowed to terminate the automatic renewal or
             continuous service exclusively online, which may include a termination
19           email formatted and provided by the business that a consumer can send to
             the business without additional information.
20
     Cal. Bus. & Prof. Code § 17602(c) (emphasis added).
21

22           26.     The updated ARL also requires a seller who provides an automatic offer that
23   includes a free gift, trial, or promotional pricing to notify consumers about how to cancel the auto-
24   renewal before they are charged. Sellers must also explain the price to be charged when the
25   promotion or free trial ends. If the initial offer is at a promotional price that is only for a limited
26   time and will increase later, the seller must obtain consumer consent to the non-discounted price
27   prior to billing. Id. Section 17601(a) of the ARL defines the term “Automatic renewal” as a “plan
28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                               15
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 1   or arrangement in which a paid subscription or purchasing agreement is automatically renewed at
 2   the end of a definite term for a subsequent term.” Cal. Bus. & Prof. Code § 17601(a).
 3          27.     Section 17601(b) of the ARL defines the term “Automatic renewal offer terms” as
 4   “the following clear and conspicuous disclosures: (1) That the subscription or purchasing
 5   agreement will continue until the consumer cancels. (2) The description of the cancellation policy
 6   that applies to the offer. (3) The recurring charges that will be charged to the consumer’s credit or
 7   debit card or payment account with a third party as part of the automatic renewal plan or
 8   arrangement, and that the amount of the charge may change, if that is the case, and the amount to
 9   which the charge will change, if known. (4) The length of the automatic renewal term or that the
10   service is continuous, unless the length of the term is chosen by the consumer. (5) The minimum
11   purchase obligation, if any.” Cal. Bus. & Prof. Code § 17601(b).
12          28.     Pursuant to Section 17601(c) of the ARL, “clear and conspicuous” or “clearly and
13   conspicuously” means “in larger type than the surrounding text, or in contrasting type, font, or
14   color to the surrounding text of the same size, or set off from the surrounding text of the same size
15   by symbols or other marks, in a manner that clearly calls attention to the language.” Cal. Bus. &
16   Prof. Code § 17601(c).
17          29.     Finally, Section 17603 of the ARL provides that where a “business sends any goods,
18   wares, merchandise, or products to a consumer, under a continuous service agreement or automatic
19   renewal of a purchase, without first obtaining the consumer’s affirmative consent[,]” the material
20   sent will be deemed “an unconditional gift to the consumer, who may use or dispose of the same in
21   any manner he or she sees fit without any obligation whatsoever on the consumer’s part to the
22   business[.]” Cal. Bus. & Prof. Code § 17603.
23          30.     As alleged below, Defendant’s practices on the FloSports Website systematically
24   violate Sections 17602(a)(l), 17602(a)(2), and 17602(a)(3) of the ARL.
25          D.      Defendant’s Business: The Subscription Enrollment Process
26          31.     At all relevant times, Defendant offered, via the FloSports Website, the FS
27   Subscriptions, which gives consumers access to its video streaming services. These paid
28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                         16
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 1   subscriptions are offered on a recurring basis for monthly and/or yearly renewal terms, and all
 2   plans automatically renew at the end of the defined renewal term unless the subscriber cancels. For
 3   example, customers that sign up for a monthly FS Subscription are, at the end of the initial one-
 4   month period, automatically renewed and typically charged the full amount for the next month, and
 5   every month thereafter if they do not cancel. Similarly, customers enrolled in an annual FS
 6   Subscription are, at the end of the initial one-year period, automatically renewed and typically
 7   charged the full amount for the next year, and every year thereafter if they do not cancel.
 8   Defendant’s FS Subscriptions constitute automatic renewal and/or continuous service plans or
 9   arrangements for the purposes of Cal. Bus. & Prof. Code § 17601.
10          32.     To sign up for one of Defendant’s FS Subscriptions, the consumer must first select a
11   program. From the FloSports Website, prospective subscribers can review features of – and find
12   links to the individual enrollment webpages for – each of Defendant’s subscription offerings,
13   including the FS Subscriptions at issue.
14          33.     Consumers can sign up for one of Defendant’s subscription plans through the
15   FloSports Website, on either its mobile or desktop format. Defendant automatically enrolls
16   customers who purchase a paid FS Subscription via the FS Website in their chosen FS Subscription
17   program going forward, by default.
18          34.     The enrollment process for each FS Subscription is substantially the same,
19   regardless of the medium used. After selecting a subscription option, consumers are directed to
20   subsequent webpages on the FloSports Website, where they are prompted to create a membership
21   account and input their billing information. After these steps, consumers are directed to another,
22   final webpage (the “Checkout Page”), where prospective subscribers are invited to complete their
23   purchases. For the purposes of the ARL and this Complaint, the “relevant portion of the Checkout
24   Page” refers to the text of that portion of the Checkout Page that appears “in visual proximity to the
25   request for consent to the offer[,]” which in this case pertains to the latter block of text located
26   immediately above the final red “Start Watching” button that customers must press in order to
27   complete the checkout process.
28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                            17
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 1          35.     By way of example, at least as of August 2022, when a consumer signed up for a FS
 2   Subscription via his or her computer web browser, the “relevant portion of the Checkout Page”
 3   refers to the disclosures in the block of text above the red “Start Watching” button (i.e., the
 4   “request for consent”), which contains the following language and appearance (red box added for
 5   emphasis):
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22          36.     Regardless of how the consumer subscribes (via the FloSports Website on its mobile
23   or desktop format), and irrespective of which particular FS Subscription plan the consumer selects,
24   Defendant fails to disclose the full terms of its auto-renewal program either before or after
25   checkout, and it never requires the individual to read or affirmatively agree to any terms of service,
26   i.e., by requiring consumers to click a checkbox next to the automatic renewal offer terms before
27   consumers complete the checkout process and submit their orders for Defendant’s FS
28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                        18
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 1   Subscriptions. Consequently, Defendant uniformly fails to obtain any form of consent from – or
 2   even provide effective notice to – its subscribers before charging consumers’ Payment Methods on
 3   a recurring basis.
 4          E.      Defendant Violates California’s Automatic Renewal Law
 5          37.     At all relevant times, Defendant failed to comply with the ARL in three ways: (i)
 6   Defendant failed to present the automatic renewal offer terms in a clear and conspicuous manner
 7   and in visual proximity to the request for consent to the offer before the subscription or purchasing
 8   agreement was fulfilled, in violation of Cal. Bus. & Prof. Code § 17602(a)(l); (ii) Defendant
 9   charged Plaintiff’s and the proposed class members’ Payment Methods without first obtaining their
10   affirmative consent to the agreement containing the automatic renewal offer terms, in violation of
11   Cal. Bus. & Prof. Code § 17602(a)(2); and (iii) Defendant failed to provide an acknowledgment
12   that included the automatic renewal offer terms, cancellation policy, and information regarding
13   how to cancel in a manner that is capable of being retained by the consumer, in violation of Cal.
14   Bus. & Prof. Code §§ 17602(a)(3).
15                  i.      Defendant Fails To Clearly And Conspicuously Present The FS
                            Subscription Automatic Renewal Terms
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            38.     As explained in greater detail below, the relevant portion of Defendant’s Checkout
17
     Page does not clearly and conspicuously present the complete “automatic renewal offer terms[,]” as
18
     defined by Cal. Bus. & Prof. Code §17601(b). First, Defendant fails to clearly and conspicuously
19
     disclose that “the subscription or purchasing agreement will continue until the consumer cancels”
20
     as defined by Cal. Bus. & Prof. Code § 17601(b)(1). As illustrated by the Checkout Page above,
21
     although the relevant portion mentions that “Your annual subscription will automatically renew on
22
     [the year after the enrollment date] and each year thereafter until you cancel” this disclosure is
23
     inadequate because it fails to specify that the consumer is even enrolling in an “annual
24
     subscription” in the first place. Specifically, the preceding text to that sentence, states “By clicking
25
     Start Watching, you will be charged $149.99 today for the first year.” That call to action does not
26
     clearly state that consumers are agreeing to an “annual subscription,” rather, it states that they are
27
     agreeing to a single charge to be placed that day. Thus, any reference to the recurring basis of the
28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                          19
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 1   “annual subscription” is anomalous because it is not tied to what consumers are purportedly
 2   agreeing to—i.e., a single charge on the given day of purchase. Aside from being inconspicuous, as
 3   discussed in greater depth below, the Checkout Page thus fails to disclose “[t]hat the subscription
 4   or purchasing agreement will continue until the consumer cancels” in the manner required by the
 5   statute. Cal. Bus. & Prof. § 17601(b)(1). For the same reasons stated above, Defendant also fails to
 6   disclose the “length of the automatic renewal term or that the service is continuous” as defined by
 7   Cal. Bus. & Prof. Code § 17601(b)(4).
 8             39.    Second, Defendant fails to disclose the “description of the cancellation policy that
 9   applies to the offer” as defined by Cal. Bus. & Prof. Code § 17601(b)(2). Specifically, although the
10   Checkout Page states that the “subscription will automatically…until you cancel,” it fails to
11   indicate the cutoff date for doing so. Specifically, the cancellation policy on the Checkout Page
12   does not disclose that a consumer’s “subscription automatically renews unless auto-renew is turned
13   off at least 24-hours before the end of the current period.”31 Further, neither the Checkout Page
14   nor the terms of service on the FloSports Website indicates the time zone that applies to the cutoff
15   date—e.g., Eastern, Central, or Pacific Time. Aside from being inconspicuous, as discussed in
16   greater depth below, the Checkout Page fails to disclose the “description of the cancellation policy
17   that applies to the offer” in the manner required by statute. Cal. Bus. & Prof. § 17601(b)(2).
18             40.    Finally, Defendant fails to disclose the “recurring charges that will be charged to the
19   consumer’s credit or debit card or payment account with a third party as part of the automatic
20   renewal plan or arrangement, and that the amount of the charge may change, if that is the case, and
21   the amount to which the charge will change, if known” as defined by Cal. Bus. & Prof. Code §
22   17601(b)(3). Specifically, although the Checkout Page indicates that consumers’ “subscription will
23   automatically renew,” and that they “will be charged $149.99 today for the first year,” Defendant
24   does not indicate how much money consumers will be charged for each subsequent year. To make
25   matters worse, the Checkout Page also fails to disclose that “the amount billed each Monthly
26   Period or Yearly Period may vary due to promotional offers, changes in your subscription, and
27
     31
28        https://www.flosports.tv/terms-of-service/ (last accessed August 25, 2022).

     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                         20
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 1   changes in applicable taxes.”32 Aside from being inconspicuous, as discussed in greater depth
 2   below, the Checkout Page fails to disclose the “recurring charges that will be charged to the
 3   consumer’s credit or debit card or payment …and that the amount of the charge may change, if that
 4   is the case, and the amount to which the charge will change, if known” as defined by Cal. Bus. &
 5   Prof. Code § 17601(b)(3).
 6                    ii.    Defendant Fails To Clearly And Conspicuously Present The FS
                             Subscription Terms Before The Subscription Agreement Is Fulfilled And
 7                           In Visual Proximity To The Request For Consent To The Offer.
 8             41.    Because Defendant failed to present the full “automatic renewal offer terms” of its
 9   FS Subscriptions on its Checkout Page, as defined by Cal. Bus. & Prof. Code §17601(b), it,
10   therefore, failed to present the material terms of its FS Subscriptions “before the subscription or
11   purchasing agreement [was] fulfilled”, in violation of Cal. Bus. & Prof. Code § 17602(1). Further,
12   even if Defendant has presented the full “automatic renewal offer terms” of its FS Subscription (it
13   did not), those terms were not presented “in a clear and conspicuous manner… and in visual
14   proximity… to the request for consent to the offer” in violation of Cal. Bus. & Prof. Code §
15   17602(1).
16             42.    Pursuant to Section 17601(c) of the ARL, “clear and conspicuous” or “clearly and
17   conspicuously” means “in larger type than the surrounding text, or in contrasting type, font, or
18   color to the surrounding text of the same size, or set off from the surrounding text of the same size
19   by symbols or other marks, in a manner that clearly calls attention to the language.” Cal. Bus. &
20   Prof. Code § 17601(c). Defendant’s inadequate “automatic renewal terms” fall well short of the
21   mark from being conspicuous as defined under the ARL. Specifically, the terms are not “clear and
22   conspicuous” because they are smaller than the text featured in and under the “Payment,” and
23   “Payment Info” headers above, which fill up at least 60% of the Checkout Page. Additionally, the
24   terms, which appears in a gray 10-point font, without emphasis, and against a grey background are
25   illegible to the naked eye without increasing the zoom level even on a large computer screen. At
26   the same time, the illegible terms are much less obvious or noticeable than the text in the middle of
27
     32
28        https://www.flosports.tv/terms-of-service/ (last accessed August 26, 2022).

     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                           21
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 1   the Checkout Page which states, in a black 30-point bolded font, that the purchase price is
 2   “$12.49.” This text is three times larger than the inadequate terms and also directly contradicts the
 3   $149.99 annual purchase price text in the terms. Finally, the terms are clearly overshadowed by the
 4   large call-to-action button which immediately turns red after a consumer finishes entering their
 5   payment information (drawing attention away from the faint grey text at issue). The “Start
 6   Watching” text within the call-to-action button also appears in a larger 12-point white font which is
 7   prominently contrasted against the red background of the button. It is clear from the design of
 8   Defendant’s Checkout Page that Defendant intends to mislead prospective consumers, and has
 9   misled consumers, into purchasing its FS Subscriptions under false pretense. Based on the above,
10   Defendant’s deceptive Checkout Page does not “clearly call attention” to its otherwise inadequate
11   “automatic renewal terms” in violation of Cal. Bus. & Prof. Code § 17602(1).
12                  iii.   Defendant Fails To Obtain Consumers’ Affirmative Consent To The
                           Automatic Renewal Terms Associated With The FS Subscriptions.
13
            43.     Furthermore, Defendant unlawfully charged Plaintiff’s and the proposed class
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     members’ Payment Methods without first obtaining their affirmative consent to the agreement
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     containing the automatic renewal (and continuous service terms), including their promotional and
16
     discounted prices, in violation of Cal. Bus. & Prof. Code § 17602(2). Specifically, Defendant does
17
     not at any point during the checkout process require consumers to read or affirmatively agree to
18
     any terms of service associated with their FS Subscriptions, e.g., by requiring consumers to select
19
     or click a “checkbox” next to the automatic renewal offer terms to complete the checkout process.
20
     In fact, as discussed above, the only terms that consumers could have purportedly agreed to, even
21
     without a checkbox manifesting affirmative consent, was that “[b]y clicking Start Watching, you
22
     will be charged $149.99 today for the first year.” That call to action, however, does not otherwise
23
     state that by clicking the call-to-action button consumers were also agreeing to an “annual
24
     subscription.” Thus, at no point, during the enrollment process or on the Checkout Page, was there
25
     an unambiguous or affirmative consent to Defendant’s automatic-renewal terms in violation of Cal.
26
     Bus. & Prof. Code § 17602(2).
27

28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                        22
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                   iv.     Defendant Fails To Provide A Post-Checkout Acknowledgment That
 1
                           Clearly And Conspicuously Discloses The Required FS Subscription
 2                         Offer Terms.

 3          44.    Finally, after Plaintiff and the proposed class members subscribed to one of

 4   Defendant’s FS Subscription plans, Defendant sent email follow-ups regarding their purchases (the

 5   “Acknowledgment Emails”).

 6          45.    By way of example, as of 2021, the subject line of the email stated: “Subscription

 7   Confirmation” The body of the email contained, in relevant part, the following text and images:

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     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                       23
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 1            46.     The Acknowledgment Email contains even less of the required information than is
 2   featured on the relevant portion of the Checkout Page, discussed above. Namely, the purchase
 3   confirmation does not provide: that the subscription “will continue until the consumer cancels[,]”
 4   Cal. Bus. & Prof. Code § 17601(b)(1); a “description of the cancellation policy that applies to the
 5   offer[,]” Cal. Bus. & Prof. Code § 17601(b)(2); a statement of “[t]he recurring charges that will be
 6   charged to the consumer’s [Payment Method] as part of the automatic renewal plan or
 7   arrangement, and that the amount of the charge may change, [and] if that is the case, and the
 8   amount to which the charge will change, Cal. Bus. & Prof. Code § 17601(b)(3); or “[t]he length of
 9   the automatic renewal term or that the service is continuous, unless the length of the term is chosen
10   by the consumer[,]” Cal. Bus. & Prof. Code § 17601(b)(4). As such, the Acknowledgment Email
11   fails to “include[] the automatic renewal offer terms … and information regarding how to cancel in
12   a manner that is capable of being retained by the consumer[,]” in violation Cal. Bus. & Prof. Code
13   § 17602(a)(3).
14            47.     At all relevant times, Defendant has been well aware that its FS Subscriptions fail to
15   comply with California’s ARL as evidenced by the number of complaints lodged against it in the
16   Better Business Bureau website. The facts giving rise to Plaintiff’s claims are materially the same
17   as the Class he seeks to represent.
18            48.     By and through these actions, Defendant has charged Plaintiff’s and the proposed
19   class members’ Payment Methods in direct violation of the ARL. As a result, all goods, wares,
20   merchandise, or products sent to Plaintiff and the Class under the automatic renewal of continuous
21   service agreements are deemed to be “unconditional gifts” pursuant to Cal. Bus. & Prof. Code §
22   17603.
23                                    CLASS ACTION ALLEGATIONS
24            49.     Class Definition: Plaintiff brings this action pursuant to Rule 23(a) of the Federal
25   Rules of Civil Procedure on behalf of a class of similarly situated individuals, defined as follows
26   (the “Class”):
27                    All persons in California who, within the applicable statute of
                      limitations period, up to and including the date of final judgment in
28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                         24
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                     this action, incurred renewal fee(s) in connection with Defendant’s
 1
                     FS Subscription offerings.
 2
            50.      Specifically excluded from the Class are Defendant and any entities in which
 3
     Defendant has a controlling interest, Defendant’s agents and employees, the judge to whom this
 4
     action is assigned, members of the judge’s staff, and the judge’s immediate family.
 5
            51.      Plaintiff reserves the right to amend the definitions of this Class if discovery or
 6
     further investigation reveals that the Class should be expanded or otherwise modified.
 7
            52.      Numerosity. Members of the Class are so numerous that their individual joinder
 8
     herein is impracticable. On information and belief, the Class comprises at least thousands of
 9
     consumers throughout California. The precise number of Class members and their identities are
10
     unknown to Plaintiff at this time but may be determined through discovery. Class members may be
11
     notified of the pendency of this action by mail and/or publication through the distribution records
12
     of Defendant.
13
            53.      Commonality and Predominance. Common questions of law and fact exist as to all
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     Class members and predominate over questions affecting only individual Class members. Common
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     legal and factual questions include, but are not limited to: (a) whether Defendant’s FS
16
     Subscriptions constitute “Automatic renewal[s]” within the meaning of Cal. Bus. & Prof. Code §
17
     17601(a); (b) whether Defendant failed to present the automatic renewal offer terms, or continuous
18
     service offer terms, in a clear and conspicuous manner before the subscription or purchasing
19
     agreement was fulfilled and in visual proximity to the request for consent to the offer, in violation
20
     of Cal. Bus. & Prof. Code § 17602(a)(l); (c) whether Defendant charged Plaintiff’s and Class
21
     members’ Payment Method for an automatic renewal service without first obtaining their
22
     affirmative consent to the automatic renewal offer terms in violation of Cal. Bus. & Prof. Code§
23
     17602(a)(2); (d) whether Defendant failed to provide an acknowledgement that included the
24
     automatic renewal or continuous service offer terms, cancellation policy, and information on how
25
     to cancel in a manner that is capable of being retained by Plaintiff and the Class, in violation of
26
     Cal. Bus. & Prof. Code § 17602(a)(3); (e) whether the goods and services provided by Defendant
27

28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                           25
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 1   are deemed an “unconditional gift” in accordance with Cal. Bus. & Prof. Code § 17603; (f)
 2   whether Defendant’s conduct alleged herein violated California’s False Advertising Law (“FAL”),
 3   Cal. Bus. & Prof. Code §§ 17500, et seq., California’s Consumers Legal Remedies Act (“CLRA”),
 4   Cal. Civ. Code §§ 1750, et seq., and/or California’s Unfair Competition Law (“UCL”), Cal. Bus. &
 5   Prof. Code §§ 17200, et seq.; (g) whether Defendant’s conduct alleged herein constitutes
 6   conversion and/or unjust enrichment; (h) whether Plaintiff and the Class are entitled to damages
 7   and/or restitution; (i) whether Defendant should be enjoined from further engaging in the
 8   misconduct alleged herein; and (j) whether Plaintiff and the Class are entitled to attorneys’ fees and
 9   costs under California Code of Civil Procedure § 1021.5.
10          54.     Typicality. The claims of Plaintiff are typical of the claims of the Class in that
11   Plaintiff and the Class sustained damages as a result of Defendant’s uniform wrongful conduct,
12   based upon Defendant’s failure to obtain Plaintiff’s and the Class’s affirmative consent to the
13   automatic renewal offer terms or continuous service offer terms associated with the FS
14   Subscriptions before charging their Payment Methods.
15          55.     Adequacy. Plaintiff will fairly and adequately protect Class members’ interests.
16   Plaintiff has no interests antagonistic to Class members’ interests, and Plaintiff has retained counsel
17   that have considerable experience and success in prosecuting complex class-actions and consumer
18   protection cases.
19          56.     Superiority. A class action is superior to all other available methods for the fair and
20   efficient adjudication of this controversy for, inter alia, the following reasons: prosecutions of
21   individual actions are economically impractical for members of the Class; the Class is readily
22   definable; prosecution as a class action avoids repetitious litigation and duplicative litigation costs,
23   conserves judicial resources, and ensures uniformity of decisions; and prosecution as a class action
24   permits claims to be handled in an orderly and expeditious manner.
25          57.     Defendant has acted or failed to act on grounds generally applicable to the Class,
26   thereby making appropriate final injunctive relief with respect to the Class as a whole.
27

28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                          26
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 1          58.     Without a class action, Defendant will continue a course of action that will result in
 2   further damages to Plaintiff and the Class and will likely retain the benefits of its wrongdoing.
 3          59.     Based on the foregoing allegations, Plaintiff’s claims for relief include those set
 4   forth below.
                                                 COUNT I
 5
                       Violations of California’s Unfair Competition Law (“UCL”),
 6                                Cal. Bus. & Prof. Code §§ 17200, et seq.

 7          60.     Plaintiff re-alleges and incorporates by reference every allegation set forth in the

 8   preceding paragraphs as though alleged in this Count.

 9          61.     Plaintiff brings this claim individually and on behalf of the members of the

10   proposed Class against Defendant.

11          62.     The UCL prohibits unfair competition in the form of “any unlawful, unfair, or

12   fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising and any

13   act[.]” Cal. Bus. & Prof. Code § 17200. The UCL allows “a person who has suffered injury in fact

14   and has lost money or property” to prosecute a civil action for violation of the UCL. Cal. Bus. &

15   Prof. Code § 17204. Such a person may bring such an action on behalf of himself or herself and

16   others similarly situated who are affected by the unlawful and/or unfair business practice or act.

17          63.     As alleged in more detail below, Defendant’s acts and practices alleged herein are

18   “unlawful” within the meaning of the UCL because they violated the following laws, regulations,

19   and rules, including the Automatic Renewal Law (“ARL”), Cal. Bus. & Prof. Code §§ 17600, et

20   seq., as well as the CLRA, FAL, and all other consumer protection statutes and common laws as

21   asserted in Counts II through V below.

22          Violations of California’s Automatic Renewal Law

23          64.     Additionally, at all relevant times, Defendant has violated, and continues to violate,

24   the UCL’s proscription against engaging in unlawful and/or unfair conduct as a result of its

25   violations of the ARL, Cal. Bus. & Prof. Code §§ 17600, et seq., as alleged in the above paragraphs

26   of this complaint, which are incorporated herein by reference.

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     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                           27
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 1          65.     Specifically, Defendant failed, and continues to fail, to: (a) provide the automatic
 2   renewal terms associated with its FS Subscription “in a clear and conspicuous manner before the
 3   subscription or purchasing agreement is fulfilled and in visual proximity[] … to the request for
 4   consent to the offer[,]” in violation of Cal. Bus. & Prof. Code § 17602(a)(1); (b) obtain the
 5   affirmative consent of Plaintiff and the Class to those terms before charging their Payment Method,
 6   in violation of Cal. Bus. & Prof. Code § 17602(a)(2); and (c) provide an acknowledgment that
 7   includes the automatic renewal or continuous service offer terms, cancellation policy, and
 8   information regarding how to cancel in a manner that is capable of being retained by the consumer,
 9   in violation of Cal. Bus. & Prof. Code §§ 17602(a)(3). Defendant also makes it exceedingly
10   difficult and unnecessarily confusing for consumers to cancel their FS Subscriptions, in violation of
11   Cal. Bus. & Prof. Code § 17602(b).
12          66.     Each of these acts and practices constitutes an independent violation of the ARL,
13   and thus an independent violation of the UCL.
14          67.     All products received from Defendant in violation of the ARL, Cal. Bus. Prof. Code
15   §§ 17602, et seq., constitute “unconditional gifts.” See Cal. Bus. Prof. Code § 17603.
16          68.      As a direct and proximate result of Defendant’s unlawful and/or unfair practices
17   described herein, Defendant has received, and continues to hold, unlawfully obtained property and
18   money belonging to Plaintiff and the Class in the form of payments made by Plaintiff and the Class
19   for their FS Subscriptions. Defendant has profited from its unlawful and/or unfair acts and
20   practices in the amount of those business expenses and interest accrued thereon. Thus, Plaintiff
21   have suffered injury in fact and lost money or property as a result of Defendant’s violations of
22   California’s ARL.
23          69.     Defendant was prohibited from making these charges and taking Plaintiffs’ money
24   without the required affirmative consent. If Defendant had complied with the law, Defendant could
25   not have made the charges, and would not have obtained this money from Plaintiff.
26

27

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     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                           28
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 1          Violations of Other Statutes and Common Laws
 2          70.     Furthermore, alleged below, Defendant has committed unlawful and/or unfair
 3   business practices under the UCL by: (a) representing that Defendant’s goods and services have
 4   certain characteristics that they do not, in violation of Cal. Civil Code § 1770(a)(5); (b) advertising
 5   goods and services with the intent not to sell them as advertised, in violation of Cal. Civil Code §
 6   1770(a)(9); and (c) converting to Defendant’s own use and benefit money that rightfully belongs to
 7   Plaintiff and the Class.
 8          71.     Defendant’s acts and omissions as alleged herein violate obligations imposed by
 9   statute, are substantially injurious to consumers, offend public policy, and are immoral, unethical,
10   oppressive, and unscrupulous as the gravity of the conduct outweighs any alleged benefits
11   attributable to such conduct.
12          72.     There were reasonably available alternatives to further Defendant’s legitimate
13   business interests, other than the conduct described herein.
14          73.     Defendant’s acts, omissions, nondisclosures, and misleading statements as alleged
15   herein were and are false, misleading, and/or likely to deceive the consuming public.
16          74.     Plaintiff and the members of the Class have suffered a substantial injury in fact and
17   lost money by virtue of Defendant’s acts of unfair competition, which caused them to purchase the
18   FS Subscriptions. Had Defendant complied with its disclosure obligations under the ARL, Plaintiff
19   and members of the Class would not have purchased their FS Subscriptions or would have
20   canceled their FS Subscriptions prior to the renewal of the subscriptions, so as to not incur
21   additional fees. Thus, Plaintiff and members of the Class were damaged and have suffered
22   economic injuries as a direct and proximate result of Defendant’s unlawful and/or unfair business
23   practices
24          75.     Defendant’s violations have continuing and adverse effects because Defendant’s
25   unlawful conduct is continuing, with no indication that Defendant intends to cease this unlawful
26   course of conduct. The public and the Class are subject to ongoing harm because the unlawful
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     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                         29
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 1   and/or unfair business practices associated with the FS Subscriptions are still used by Defendant
 2   today.
 3            76.   Plaintiff and the Class seek restitution pursuant to Cal. Bus. & Prof. Code § 17203
 4   of all amounts that Defendant charged or caused to be charged to Plaintiff’s and the Class’s
 5   Payment Methods in connection with their FS Subscriptions during the four years preceding the
 6   filing of this Complaint. Defendant should be required to disgorge all the profits and gains it has
 7   reaped and restore such profits and gains to Plaintiff and the Class, from whom they were
 8   unlawfully taken.
 9            77.   Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiff and members of the Class
10   seek a court order enjoining Defendant from such future misconduct, and any other such orders that
11   may be necessary to rectify the unlawful business practices of Defendant.
12            78.   Plaintiff, individually and on behalf of similarly situated California consumers,
13   brings this action as private attorneys general and to vindicate and enforce an important right
14   affecting the public interest. Plaintiff and the Class are therefore entitled to an award of attorneys’
15   fees under Code of Civil Proc. § 1021.5 for bringing this action.
16                                                 COUNT II
                                                   Conversion
17
              79.   Plaintiff re-alleges and incorporates by reference every allegation set forth in the
18
     preceding paragraphs as though alleged in this Count.
19
              80.   Plaintiffs brings this claim individually and on behalf of the members of the
20
     proposed Class against Defendant.
21
              81.    As a result of charges made by Defendant to Plaintiff’s and Class members’
22
     Payment Methods without authorization and in violation of California law, Defendant has taken
23
     money that belongs to Plaintiff and the Class.
24
              82.   The amount of money wrongfully taken by Defendant is capable of identification.
25
              83.    Defendant engaged in this conduct knowingly, willfully, and with oppression,
26
     fraud, and/or malice within the meaning of Cal. Civil Code § 3294(c).
27
              84.   As a result of Defendant’s actions, Plaintiff and the Class have suffered damages.
28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                           30
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                                                COUNT III
 1
                        Violations of California’s False Advertising Law (“FAL”),
 2                               Cal. Bus. & Prof. Code §§ 17500, et seq.

 3          85.     Plaintiff re-alleges and incorporates by reference every allegation set forth in the

 4   preceding paragraphs as though alleged in this Count.

 5          86.     Plaintiff brings this claim individually and on behalf of the members of the

 6   proposed Class against Defendant.

 7          87.     California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.,

 8   makes it “unlawful for any person to make or disseminate or cause to be made or disseminated

 9   before the public in this state, …in any advertising device … or in any other manner or means

10   whatever, including over the Internet, any statement, concerning … personal property or services,

11   professional or otherwise, or performance or disposition thereof, which is untrue or misleading and

12   which is known, or which by the exercise of reasonable care should be known, to be untrue or

13   misleading.”

14          88.     Defendant committed acts of false advertising, as defined by § 17500, by

15   intentionally making and disseminating statements to consumers in California and the general

16   public concerning Defendant’s products and services, as well as circumstances and facts connected

17   to such products and services, which are untrue and misleading on their face and by omission, and

18   which are known (or which by the exercise of reasonable care should be known) by Defendant to

19   be untrue or misleading. Defendant has also intentionally made or disseminated such untrue or

20   misleading statements and material omissions to consumers in California and to the public as part

21   of a plan or scheme with intent not to sell those services as advertised.

22          89.     Defendant’s statements include but are not limited to representations and omissions

23   made to consumers before and after enrollment in Defendant’s FS Subscriptions regarding the

24   terms of payment for and cancellation of a consumer’s automatic payments. For instance,

25   Defendant’s representation on the Checkout Pages of the FloSports Website that members can

26   “cancel” their FS Subscription is contradicted by their policy set forth elsewhere on the FloSports

27   Website that customers must cancel their FS Subscriptions at least 24 hours before their the next

28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                           31
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 1   charge. In light of Defendant’s disclosure of the former and silence as to the latter on the Checkout
 2   Pages for the FS Subscriptions, the representations and omissions on the Checkout Pages constitute
 3   false and deceptive advertisements. Similarly, Defendant misleads consumers into believing that
 4   they would only be paying a monthly charge, rather than a full yearly charge, by prominently
 5   displaying a monthly charge of $12.49 on the center of the Checkout Page and then burying within
 6   a barely legible block of text that the actual price of the FS Subscription is a $149.99. Defendant
 7   also misleads consumers by displaying “ANNUAL” and “12.49” in extra-large, bold writing, while
 8   the monthly descriptor and annual total amount are set out in tiny, greyed-out font type.
 9          90.     Defendant’s actions in violation of § 17500, as described herein, were false and
10   misleading such that the general public is and was likely to be deceived.
11          91.     Defendant knew that its actions were misleading based on the sheer number of
12   complains that it has received from consumers who were unwillingly enrolled into its FS
13   Subscriptions under false pretenses.
14          92.     Plaintiffs and the members of the Class were deceived by Defendant’s statements
15   and omissions made online when they signed up and started paying for their FS Subscriptions, and
16   other California consumers and members of the public were also or are likely to be deceived as
17   well. Any reasonable consumer would be misled by Defendant’s false and misleading statements
18   and material omissions. Plaintiffs and other members of the Class did not learn of Defendant’s FS
19   Subscription price, cancellation, and automatic payment policies until after they had already signed
20   up and started paying for Defendant’s FS Subscription. Thus. they relied on Defendant’s
21   statements and omissions to their detriment.
22          93.     Plaintiffs and the Class lost money or property as a result of Defendant’s FAL
23   violations because they would not have purchased the FS Subscriptions on the same terms if the
24   true facts were known about the product and the FS Subscriptions do not have the characteristics or
25   the purchase price as promised by Defendant.
26          94.     Plaintiff, individually and on behalf of all similarly situated California consumers,
27   seeks individual, representative, and public injunctive relief and any other necessary orders or
28
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 1   judgments that will prevent Defendant from continuing with its false and deceptive advertisements
 2   and omissions; restitution that will restore the full amount of their money or property;
 3   disgorgement of Defendant’s relevant profits and proceeds; and an award of costs and reasonable
 4   attorneys’ fees.
 5                                               COUNT IV
                   Violations of California’s Consumers Legal Remedies Act (“CLRA”),
 6                                     Cal. Civ. Code §§ 1750, et seq.
 7          95.     Plaintiff re-alleges and incorporates by reference every allegation set forth in the
 8   preceding paragraphs as though alleged in this Count.
 9          96.     Plaintiff brings this claim individually and on behalf of the members of the
10   proposed Class against Defendant.
11          97.     Plaintiff and the members of the Class are “consumers” within the meaning of Cal.
12   Civil Code § 1761(d) in that Plaintiff and the Class sought or acquired Defendant’s goods and/or
13   services for personal, family, or household purposes.
14          98.         Defendant’s selection and/or subscription offers and the video, music, and other
15   products pertaining thereto are “goods” and/or “services” within the meaning of Cal. Civil Code §
16   1761(a) and (b). The purchases by Plaintiff and the Class are “transactions” within the meaning of
17   Cal. Civil Code § 1761(e).
18          99.     The acts and practices of Defendant as described above were intended to deceive
19   Plaintiff and the Class as described herein, and have resulted, and will result, in damages to
20   Plaintiff and the Class. These actions violated, and continue to violate, the CLRA in at least the
21   following respects: (a) Defendant’s acts and practices constitute representations or omissions
22   deceiving that the FS Subscriptions have characteristics, uses, and/or benefits, which they do not,
23   in violation of Cal. Civil Code §1770(a)(5); and (b) Defendant’s acts and practices constitute the
24   advertisement of the goods in question without the intent to sell them as advertised, in violation of
25   Cal. Civil Code § 1770(a)(9).
26          100.        Plaintiff and the Class suffered economic injury as a direct result of Defendant’s
27   misrepresentations and/or omissions because they were induced to purchase FS Subscriptions
28
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 1   and/or pay renewal fees they would not have otherwise purchased and/or paid. Had Defendant fully
 2   and clearly disclosed the terms and purchase price associated with the FS Subscriptions, Plaintiffs
 3   and the Class would have not subscribed to the FS Subscriptions, or they would have cancelled
 4   their FS Subscriptions earlier, i.e., prior to the expiration of the initial subscription period.
 5           102.     Plaintiff and the California Subclass members presently seek only injunctive relief
 6   under this Count. If Defendant fails to remedy the violations alleged herein within 30 days of
 7   receipt of Plaintiff’s notice, Plaintiff will amend this Complaint to add claims damages pursuant to
 8   the CLRA.
                                                  COUNT V
 9
                                        Unjust Enrichment / Restitution
10           103.     Plaintiff re-alleges and incorporates by reference every allegation set forth in the
11   preceding paragraphs as though alleged in this Count.
12           104.     Plaintiff brings this claim individually and on behalf of Class members under the
13   laws of the State of California.
14           105.     To the extent required by law, this cause of action is alleged in the alternative to
15   legal claims, as permitted under Fed. R. Civ. P. 8.
16           106.     Plaintiff and the Class conferred benefits on Defendant by purchasing the FS
17   Subscriptions.
18           107.     Defendant has been unjustly enriched in retaining the revenues derived from
19   Plaintiff’s and the Class’s purchases of the FS Subscriptions. Retention of those moneys under
20   these circumstances is unjust and inequitable because Defendant’s failure to disclose material terms
21   of the purchase agreement, in violation of California law, induced Plaintiffs and the Class to
22   purchase the FS Subscriptions. These omissions caused injuries to Plaintiffs and the Class because
23   they would not have purchased the FS Subscriptions at all, or on the same terms if the true facts
24   were known.
25           108.     Because Defendant’s retention of the non-gratuitous benefits conferred on them by
26   Plaintiff and Class members is unjust and inequitable, Defendant has been unjustly enriched in an
27   amount to be determined at trial
28
     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                             34
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 1                                           PRAYER FOR RELIEF
 2           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks
 3   judgment against Defendant, as follows:
 4                   (a)     For an order certifying the Class under Rule 23 of the Federal Rules of Civil
 5                           Procedure and naming Plaintiff as representatives of the Class and Plaintiff’s
                             attorneys as Class Counsel to represent the Class;
 6
                     (b)     For an order declaring the Defendant’s conduct violates the statutes
 7                           referenced herein;
 8
                     (c)     For an order finding in favor of Plaintiff and the Class on all counts asserted
 9                           herein;

10                   (d)     For actual, compensatory, statutory, and/or punitive damages in amounts to
                             be determined by the Court and/or jury;
11
                     (e)     For prejudgment interest on all amounts awarded;
12
                     (f)     For an order of restitution and all other forms of equitable monetary relief;
13
                     (g)     For injunctive relief as pleaded or as the Court may deem proper; and
14

15                   (h)     For an order awarding Plaintiff and the Class their reasonable attorneys’ fees
                             and expenses and costs of suit.
16
                                       DEMAND FOR TRIAL BY JURY
17
                     Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury
18
     of any and all issues in this action so triable as of right.
19

20   Dated: August 29, 2022                           Respectfully submitted,

21                                                    BURSOR & FISHER, P.A.

22
                                                      By:     /s/ L. Timothy Fisher
23
                                                      L. Timothy Fisher (State Bar No. 191626)
24                                                    1990 North California Blvd., Suite 940
                                                      Walnut Creek, CA 94596
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26                                                    E-mail: ltfisher@bursor.com

27                                                    Joseph I. Marchese (pro hac vice forthcoming)
                                                      Alec M. Leslie (pro hac vice forthcoming)
28
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 7
                                         Attorneys for Plaintiff
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            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 1

 2          I, L. Timothy Fisher, declare as follows:

 3          1.      I am an attorney at law licensed to practice in the State of California and a member
 4   of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel of record for Plaintiff in
 5
     this action. I have personal knowledge of the facts set forth in this declaration and, if called as a
 6
     witness, I could and would competently testify thereto under oath.
 7
            2.      The Complaint filed in this action is filed in the proper place for trial under Civil
 8

 9   Code Section 1780(d) in that a substantial portion of the transaction alleged in the Complaint

10   occurred in Sonoma County. Plaintiff Young alleges he purchased the FS Subscription in this

11   County.
12          I declare under the penalty of perjury under the laws of the State of California and the
13
     United States that the foregoing is true and correct, and that this declaration was executed at
14
     Walnut Creek, California, this 29th day of August, 2022.
15
                                                            /s/ L. Timothy Fisher
16
                                                               L. Timothy Fisher
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     CLASS ACTION COMPLAINT –JURY TRIAL DEMANDED                                                             37
